Case 2:09-cr-00744-SD Document 1
AO 245B (Rev. 06/05) Judgment in a Criminal Case
Sheet |

Case 1:12-cr-00050-CM Document 2 Filed ye

 

UNITED STATES DISTRICT COURT
Eastern District of Pennsylvania

UNITED STATES OF AMERICA L E D JUDGMENT IN A CRIMINAL CASE

v. Fl

Maodo Kane

M AY 0 7 2010 Case Number: DPAE2:09CR000744-009
Z, Clerk USM Number: 61679-066
MICHAELE: KUN cerk
by. Michael J. Engle, Esq.

 

Defendant’s Attorney

THE DEFENDANT:
X pleaded guilty to count(s) 20 and 25

(pleaded nolo contendere to count(s)
which was accepted by the court.

 

L] was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

 

Title & Section Nature of Offense Offense Ended Count
18:371 & 2320 Conspiracy to traffic in counterfeit goods Nov. 2009 20
18:2320 & 2 Trafficking in counterfeit goods and Aiding and Abetting 7/28/08 25

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is :mposed pursuant to
the Sentencing Reform Act of 1984.
( The defendant has been found not guilty on count(s)
C Count(s) C is [ are dismissed on the motion of the United States.

 

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, tesidence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

May 7, 2010

Date of Imposition of Judgment

ia ND Se

 

5/7/10 Copies to: Signature of Judge cS.
Pre-Trial Services

FLU

Fiscal Stewart Dalzell, USDCJ

 

Name and Title of Judge
cc: Michael J. Engle, Esq.

 

 

 

 

 

 

Nancy Winter, AUSA May 7, 2010
BOP Date
2cc: U.S. Marshal USDC SDNY
Probation DOCUMENT
ELECTRONICALLY FILED
DOC #:
DATE FILED: WAN 2 5201

 

 
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Sheet 2 — Iniprisonment
Judgment — Page _,_2 of
DEFENDANT: Maodo Kane
CASE NUMBER: 09-744-09
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a

total term of:

9 months

X The court makes the following recommendations to the Bureau of Prisons:

The Court recommends the defendant be designated to FCI Allenwoo
have the defendant’s deportation date coincide with the end of this term of imprisonment.

(The defendant is remanded to the custody of the United States Marshal.

Cl'The defendant shall surrender to the United States Marshal for this district:

at [J a.m. (] p.m. on _-:

 

as notified by the United States Marshal.

[The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

[J before 2 p.m. on

 

(] as notified by the United States Marshal.

[J as notified by the Probation or Pretrial Services Office.

RETURN

I have executed this judgment as follows:

Defendant delivered on to

at , with a certified copy of this judgment.

 

d. It is recommended that every effort be made to

 

UNITED STATES MARS HAL

By

 

DEPUTY UNITED STATES MARSHAL
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Sheet 3 — Supervised Release

 

Judgment—Page __3 of 5

DEFENDANT: Maodo Kane
CASE NUMBER: 09-744-09
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :

Three (3) years. If deported or granted voluntary departure, the defendant shall remain outside the United States and
all places subject to its jurisdiction, unless prior written permission to re-enter is obtained from the pertinent legal
authorities and the defendant notifies the probation office in writing to that effect.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests

thereafter, as determined by the court.
(J The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of

future substance abuse. (Check, if applicable.)
(The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

[1 The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

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C] The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the p-obation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for scho ling, training, or other
acceptable reasons,

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment,

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with ary person convicted of a
felony, unless granted permission to do so by the probation officer; .

10) the defendant shail permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcerrent agency without the
permission of the court; and oo

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by “he defendant’s criminal
record or persona history or characteristics and shall permit the probation officer to make such notifications and to confirm the

defendant’s compliance with such notification requirement.
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Sheet 5 -—— Criminal Monetary Penalties

 

 

 

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DEFENDANT: Maodo Kane
CASE NUMBER: 09-744-09

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS § 200.00 $ Waived $ N/A

[1 The determination of restitution is deferred until _ An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
(J The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

if the defendant makes a partial payment, each payee shall receive an approximately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid

before the United States is paid.

 

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ 0 $F

[] Restitution amount ordered pursuant to plea agreement $

 

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[the interest requirement is waived for the C1 fine (J restitution.

[] the interest requirement for the [fine (1 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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Sheet 6 —~ Schedule of Payments

 

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DEFENDANT: Maodo Kane
CASE NUMBER: 09-744-09

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A X_ Lump sum payment of $ 200.00 due immediately, balance due
(] not later than , or

[J _ in accordance aq OD OF Eo 0 F below; or
B (Payment to begin immediately (may be combined with Oc, (D,or [)F below); or

C ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

 

D (J Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from iraprisonment to a

 

term of supervision; or

— [Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F (Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due durin
imprisonment. All crimina monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia

Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposec..

(0 Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint ani Several Amount,
and corresponding payee, if appropriate.

Cl ‘The defendant shall pay the cost of prosecution.
(]_ The defendant shall pay the following court cost(s):

[J The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
t

(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

 
